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                        Exhibit 8
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                     GENERAL NOTICES AND
                           REQUIREMENTS
   The General Notices and Requirements section (the General        graph, or a general chapter numbered below 1000. Gen-
Notices) presents the basic assumptions, definitions, and de-       eral chapters numbered above 2000 apply only to articles
fault conditions for the interpretation and application of the      that are intended for use as dietary ingredients and dietary
United States Pharmacopeia (USP) and the National Formu-            supplements.
lary (NF).                                                          2.20. Official Articles
   Requirements stated in these General Notices apply to all           An official article is an article that is recognized in USP or
articles recognized in the USP and NF (the “compendia”)             NF. An article is deemed to be recognized and included in
and to all general chapters unless specifically stated other-       a compendium when a monograph for the article is pub-
wise. Where the requirements of an individual monograph             lished in the compendium and an official date is generally
differ from the General Notices or a general chapter, the           or specifically assigned to the monograph.
monograph requirements apply and supersede the require-                The title specified in a monograph is the official title for
ments of the General Notices or the general chapter,                such article. Other names considered to be synonyms of
whether or not the monograph explicitly states the                  the official titles may not be used as substitutes for official
difference.                                                         titles.
1. TITLE AND REVISION                                                  Official articles include both official substances and official
   The full title of this publication (consisting of four           products. An official substance is a drug substance, excipient,
volumes and including its Supplements), is The Pharmaco-            dietary ingredient, other ingredient, or component of a fin-
peia of the United States of America, Thirty-Eighth Revision        ished device for which the monograph title includes no in-
and the National Formulary, Thirty-Third Edition. These titles      dication of the nature of the finished form.
may be abbreviated to USP 38, to NF 33, and to USP                     An official product is a drug product, dietary supplement,
38–NF 33. The United States Pharmacopeia, Thirty-Eighth             compounded preparation, or finished device for which a
Revision, and the National Formulary, Thirty-Third Edition,         monograph is provided.
supersede all earlier revisions. Where the terms “USP,” “NF,        2.30. Legal Recognition
” or “USP–NF” are used without further qualification during            The USP and NF are recognized in the laws and regula-
the period in which these compendia are official, they refer        tions of many countries throughout the world. Regulatory
only to USP 38, NF 33, and any Supplement(s) thereto. The           authorities may enforce the standards presented in the USP
same titles, with no further distinction, apply equally to          and NF, but because recognition of the USP and NF may
print or electronic presentation of these contents. Although        vary by country, users should understand applicable laws
USP and NF are published under one cover and share these            and regulations. In the United States under the Federal
General Notices, they are separate compendia.                       Food, Drug, and Cosmetic Act (FDCA), both USP and NF
   This revision is official beginning April 1, 2015, unless        are recognized as official compendia. A drug with a name
otherwise indicated in specific text.                               recognized in USP–NF must comply with compendial iden-
   Supplements to USP and NF are published periodically.            tity standards or be deemed adulterated, misbranded, or
   Interim Revision Announcements are revisions to USP and          both. See, e.g., FDCA § 501(b) and 502(e)(3)(b); also FDA
NF that are published on the USP website. Interim Revision          regulations, 21 CFR § 299.5(a&b). To avoid being deemed
Announcements contain official revisions and their effective        adulterated, such drugs must also comply with compendial
dates. Announcements of the availability of new USP Refer-          standards for strength, quality, and purity, unless labeled to
ence Standards and announcements of tests or procedures             show all respects in which the drug differs. See, e.g., FDCA
that are held in abeyance pending availability of required          § 501(b) and 21 CFR § 299.5(c). In addition, to avoid be-
USP Reference Standards are also available on the “New              ing deemed misbranded, drugs recognized in USP–NF must
Official Text” tab of USP’s website.                                also be packaged and labeled in compliance with com-
   Revision Bulletins are revisions to official text or postpone-   pendial standards. See FDCA § 502(g).
ments that require expedited publication. They are pub-                A dietary supplement represented as conforming to spec-
lished on the USP website and generally are official imme-          ifications in USP will be deemed a misbranded food if it fails
diately unless otherwise specified in the Revision Bulletin.        to so conform. See FDCA § 403(s)(2)(D).
   Errata are corrections to items erroneously published that          Enforcement of USP standards is the responsibility of FDA
have not received the approval of the Council of Experts            and other government authorities in the U.S. and else-
and that do not reflect the official requirements.                  where. USP has no role in enforcement.
2. OFFICIAL STATUS AND LEGAL RECOGNITION                            3. CONFORMANCE TO STANDARDS
2.10. Official Text                                                 3.10. Applicability of Standards
   Official text is text contained in USP and NF, including            Standards for an article recognized in the compendia
monographs, general chapters, and these General Notices.            (USP–NF) are expressed in the article’s monograph, applica-
Revisions to official text are provided in Supplements, In-         ble general chapters, and General Notices. Unless specifically
terim Revision Announcements, and Revision Bulletins. General       exempted elsewhere in a compendium, the identity,
chapters numbered from 1000 to 1999 are considered in-              strength, quality, and purity of an article are determined by
terpretive and are intended to provide information on, give         the official tests, procedures, and acceptance criteria,
definition to, or describe a particular subject. They contain       whether incorporated in the monograph itself, in the Gen-
no mandatory requirements applicable to any official article        eral Notices, or in the applicable general chapters. Early
unless specifically referenced in General Notices, a mono-          adoption of revised standards is allowed. Where revised

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standards for an existing article have been published as fi-         tended for incorporation into a dietary supplement, and is
nal approved “official text” (as approved in section 2.10)           labeled as conforming to the USP or NF.
but are not yet official (six months after publication, unless          Generally, dietary supplements are prepared from ingre-
otherwise specified; see “official date,” section 2.20), com-        dients that meet USP, NF, or Food Chemicals Codex stan-
pliance with the revised standard shall not preclude a find-         dards. Where such standards do not exist, substances may
ing or indication of conformance with compendial stan-               be used in dietary supplements if they have been shown to
dards, unless USP specifies otherwise by prohibiting early           be of acceptable food grade quality using other suitable
adoption in a particular standard.                                   procedures.
   The standards in the relevant monograph, general chap-            3.20. Indicating Conformance
ter(s), and General Notices apply at all times in the life of           A drug product, drug substance, or excipient may use
the article from production to expiration. The manufactur-           the designation “USP” or “NF” in conjunction with its offi-
er’s specifications, and good manufacturing practices gen-           cial title or elsewhere on the label only when (1) a mono-
erally (including, e.g., Quality by Design initiatives), are de-     graph is provided in the specified compendium and (2) the
veloped and followed to ensure that the article will comply          article complies with the identity prescribed in the specified
with compendial standards until its expiration date, when            compendium.
stored as directed. Thus, any official article is expected to           When a drug product, drug substance, or excipient dif-
meet the compendial standards if tested, and any official            fers from the relevant USP or NF standard of strength, qual-
article actually tested as directed in the relevant mono-            ity, or purity, as determined by the application of the tests,
graph must meet such standards to demonstrate                        procedures, and acceptance criteria set forth in the relevant
compliance.                                                          compendium, its difference shall be plainly stated on its
   At times, compendial standards take on the character of           label.
statistical procedures, with multiple units involved and per-           When a drug product, drug substance, or excipient fails
haps a sequential procedural design to allow the user to             to comply with the identity prescribed in USP or NF or
determine that the tested article meets or does not meet             contains an added substance that interferes with the pre-
the standard. The similarity to statistical procedures may           scribed tests and procedures, the article shall be designated
seem to suggest an intent to make inference to some larger           by a name that is clearly distinguishing and differentiating
group of units, but in all cases, statements about whether           from any name recognized in USP or NF.
the compendial standard is met apply only to the units                  A medical device, dietary supplement, or ingredient or
tested. Repeats, replicates, statistical rejection of outliers, or   component of a medical device or dietary supplement may
extrapolations of results to larger populations, as well as the      use the designation “USP” or “NF” in conjunction with its
necessity and appropriate frequency of batch testing, are            official title or elsewhere on the label only when (1) a mon-
neither specified nor proscribed by the compendia. Fre-              ograph is provided in the specified compendium and (2)
quency of testing and sampling are left to the preferences           the article complies with the monograph standards and
or direction of those performing compliance testing, and             other applicable standards in the compendium.
other users of USP–NF, including manufacturers, buyers, or              The designation “USP” or “NF” on the label may not and
regulatory authorities.                                              does not constitute an endorsement by USP and does not
   Official products are prepared according to recognized            represent assurance by USP that the article is known to
principles of good manufacturing practice and from ingre-            comply with the relevant standards. USP may seek legal
dients that meet USP or NF standards, where standards for            redress if an article purports to be or is represented as an
such ingredients exist (for dietary supplements, see section         official article in one of USP’s compendia and such claim is
3.10.20).                                                            determined by USP not to be made in good faith.
   Official substances are prepared according to recognized             The designation “USP–NF” may be used on the label of
principles of good manufacturing practice and from ingre-            an article provided that the label also bears a statement
dients complying with specifications designed to ensure              such as “Meets NF standards as published by USP,” indicat-
that the resultant substances meet the requirements of the           ing the particular compendium to which the article pur-
compendial monographs.                                               ports to apply.
3.10.10. Applicability of Standards to Drug Products,                   When the letters “USP,” “NF,” or “USP–NF” are used on
Drug Substances, and Excipients                                      the label of an article to indicate compliance with com-
   The applicable USP or NF standard applies to any article          pendial standards, the letters shall appear in conjunction
marketed in the United States that (1) is recognized in the          with the official title of the article. The letters are not to be
compendium and (2) is intended or labeled for use as a               enclosed in any symbol such as a circle, square, etc., and
drug or as an ingredient in a drug. Such articles (drug              shall appear in capital letters.
products, drug substances, and excipients) include both                 If a dietary supplement does not comply with all applica-
human drugs (whether dispensed by prescription, “over the            ble compendial requirements but contains one or more die-
counter,” or otherwise), as well as animal drugs. The appli-         tary ingredients or other ingredients that are recognized in
cable standard applies to such articles whether or not the           USP or NF, the individual ingredient(s) may be designated
added designation “USP” or “NF” is used. The standards               as complying with USP or NF standards or being of USP or
apply equally to articles bearing the official titles or names       NF quality provided that the designation is limited to the
derived by transposition of the definitive words of official         individual ingredient(s) and does not suggest that the die-
titles or transposition in the order of the names of two or          tary supplement complies with USP standards.
more active ingredients in official titles, or where there is        4. MONOGRAPHS AND GENERAL CHAPTERS
use of synonyms with the intent or effect of suggesting a            4.10. Monographs
significant degree of identity with the official title or name.         Monographs set forth the article’s name, definition, spec-
3.10.20. Applicability of Standards to Medical Devices,              ification, and other requirements related to packaging, stor-
Dietary Supplements, and Their Components and                        age, and labeling. The specification consists of tests, proce-
Ingredients                                                          dures, and acceptance criteria that help ensure the identity,
   An article recognized in USP or NF shall comply with the          strength, quality, and purity of the article. For general re-
compendial standards if the article is a medical device,             quirements relating to specific monograph sections, see
component intended for a medical device, dietary supple-             section 5, Monograph Components.
ment, dietary ingredient, or other ingredient that is in-               Because monographs may not provide standards for all
                                                                     relevant characteristics, some official substances may con-

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form to the USP or NF standard but differ with regard to            • General guidance to manufacturers of official sub-
nonstandardized properties that are relevant to their use in           stances or official products.
specific preparations. To assure interchangeability in such         When a general chapter is referenced in a monograph,
instances, users may wish to ascertain functional equiva-         acceptance criteria may be presented after a colon.
lence or determine such characteristics before use.                 Some chapters may serve as introductory overviews of a
4.10.10. Applicability of Test Procedures                         test or of analytical techniques. They may reference other
   A single monograph may include several different tests,        general chapters that contain techniques, details of the pro-
procedures, and/or acceptance criteria that reflect attributes    cedures, and, at times, acceptance criteria.
of different manufacturers’ articles. Such alternatives may
be presented for different polymorphic forms, impurities,
hydrates, and dissolution cases. Monographs indicate the          Change to read:
tests, procedures, and/or acceptance criteria to be used
and the required labeling.                                        5. MONOGRAPH COMPONENTS
   A test in a monograph may contain and require multiple         5.10. Molecular Formula
procedures. However, multiple procedures may be included             The use of the molecular formula for the active ingredi-
in particular monographs specifically for the purpose of as-      ent(s) named in defining the required strength of a com-
suring the availability of an appropriate procedure for a         pendial article is intended to designate the chemical entity
particular product. In such cases, a labeling statement to        or entities, as given in the complete chemical name of the
indicate the appropriate application of the procedure(s) will     article, having absolute (100 percent) purity.
be included in the monograph. A labeling statement is not         5.20. Added Substances
required if Test 1 is used.                                          Added substances are presumed to be unsuitable for in-
4.10.11. Dissolution, Disintegration, and Drug Release            clusion in an official article and therefore prohibited, if: (1)
Tests                                                             they exceed the minimum quantity required for providing
   Multiple Dissolution, Disintegration, or Drug Release tests    their intended effect; (2) their presence impairs the bioavai-
may be present in the monograph. The order in which the           lability, therapeutic efficacy, or safety of the official article;
tests are listed in the monograph is based on the order in        or (3) they interfere with the assays and tests prescribed for
which they are approved by the relevant Expert Committee          determining compliance with the compendial standards.
for inclusion in the monograph. Test 1 is not necessarily the        The air in a container of an official article may, where
test for the innovator or for the reference product. Compli-      appropriate, be evacuated or be replaced by carbon diox-
ance with any of the tests does not assure bioequivalence         ide, helium, argon, or nitrogen, or by a mixture of these
or bioavailability.                                               gases. The use of such gas need not be declared in the
4.10.20. Acceptance Criteria                                      labeling.
   The acceptance criteria allow for analytical error, for una-   5.20.10. Added Substances, Excipients, and Ingredients
voidable variations in manufacturing and compounding,             in Official Substances
and for deterioration to an extent considered acceptable             Official substances may contain only the specific added
under practical conditions. The existence of compendial ac-       substances that are permitted by the individual mono-
ceptance criteria does not constitute a basis for a claim that    graph. Where such addition is permitted, the label shall
an official substance that more nearly approaches 100 per-        indicate the name(s) and amount(s) of any added
cent purity “exceeds” compendial quality. Similarly, the fact     substance(s).
that an article has been prepared to tighter criteria than        5.20.20. Added Substances, Excipients, and Ingredients
those specified in the monograph does not constitute a            in Official Products
basis for a claim that the article “exceeds” the compendial          Suitable substances and excipients such as antimicrobial
requirements.                                                     agents, pharmaceutical bases, carriers, coatings, flavors,
   An official product shall be formulated with the intent to     preservatives, stabilizers, and vehicles may be added to an
provide 100 percent of the quantity of each ingredient de-        official product to enhance its stability, usefulness, or ele-
clared on the label. Where the minimum amount of a sub-           gance, or to facilitate its preparation, unless otherwise spec-
stance present in a dietary supplement is required by law         ified in the individual monograph.
to be higher than the lower acceptance criterion allowed             Added substances and excipients employed solely to im-
for in the monograph, the upper acceptance criterion con-         part color may be incorporated into official products other
tained in the monograph may be increased by a corre-              than those intended for parenteral or ophthalmic use, in
sponding amount.                                                  accordance with the regulations pertaining to the use of
   The acceptance criteria specified in individual mono-          colors issued by the U.S. Food and Drug Administration
graphs and in the general chapters for compounded prepa-          (FDA), provided such added substances or excipients are
rations are based on such attributes of quality as might be       otherwise appropriate in all respects. (See also Injections 〈1〉,
expected to characterize an article compounded from suita-        Ingredients, Vehicles and Added Substances, Added Sub-
ble bulk drug substances and ingredients, using the proce-        stances.)
dures provided or recognized principles of good com-                 The proportions of the substances constituting the base
pounding practice, as described in these compendia.               in ointment and suppository products and preparations
4.20. General Chapters                                            may be varied to maintain a suitable consistency under dif-
   Each general chapter is assigned a number that appears         ferent climatic conditions, provided that the concentrations
in angle brackets adjacent to the chapter name (e.g., Chro-       of active ingredients are not varied and provided that the
matography 〈621〉). General chapters may contain the               bioavailability, therapeutic efficacy, and safety of the prepa-
following:                                                        ration are not impaired.
   • Descriptions of tests and procedures for application         5.20.20.1. In Compounded Preparations
     through individual monographs,                                  Compounded preparations for which a complete compo-
   • Descriptions and specifications of conditions and prac-      sition is given shall contain only the ingredients named in
     tices for pharmaceutical compounding,                        the formulas unless specifically exempted herein or in the
   • General information for the interpretation of the com-       individual monograph. Deviation from the specified
     pendial requirements,                                        processes or methods of compounding, although not from
   • Descriptions of general pharmaceutical storage, dis-         the ingredients or proportions thereof, may occur provided
     pensing, and packaging practices, or

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that the finished preparation conforms to the relevant stan-      or Identification test (i.e., failure to meet the requirements
dards and to preparations produced by following the speci-        of all of the specified procedures that are components of
fied process.                                                     that test) indicates that the article is mislabeled and/or
   Where a monograph for a compounded preparation calls           adulterated.
for an ingredient in an amount expressed on the dried ba-         5.50. Assay
sis, the ingredient need not be dried before use if due al-          Assay tests for compounded preparations are not in-
lowance is made for the water or other volatile substances        tended for evaluating a compounded preparation before
present in the quantity taken.                                    dispensing, but instead are intended to serve as the official
   Specially denatured alcohol formulas are available for use     test in the event of a question or dispute regarding the
in accordance with federal statutes and regulations of the        preparation’s conformance to official standards.
Internal Revenue Service. A suitable formula of specially de-     5.50.10. Units of Potency (Biological)
natured alcohol may be substituted for Alcohol in the man-           For substances that cannot be completely characterized
ufacture of official preparations intended for internal or top-   by chemical and physical means, it may be necessary to
ical use, provided that the denaturant is volatile and does       express quantities of activity in biological units of potency,
not remain in the finished product. A preparation that is         each defined by an authoritative, designated reference
intended for topical application to the skin may contain          standard.
specially denatured alcohol, provided that the denaturant is         Units of biological potency defined by the World Health
either a usual ingredient in the preparation or a permissible     Organization (WHO) for International Biological Standards
added substance; in either case the denaturant shall be           and International Biological Reference Preparations are
identified on the label of the topical preparation. Where a       termed International Units (IU). Monographs refer to the
process is given in the individual monograph, any prepara-        units defined by USP Reference Standards as “USP Units.”
tion compounded using denatured alcohol shall be identi-          For biological products, units of potency are defined by the
cal to that prepared by the monograph process.                    corresponding U.S. Standard established by FDA, whether
5.20.20.2. In Dietary Supplements                                 or not International Units or USP Units have been defined
   Additional ingredients may be added to dietary supple-         (see Biologics 〈1041〉).
ment products provided that the additional ingredients: (1)       5.60. Impurities and Foreign Substances
comply with applicable regulatory requirements; and (2) do           Tests for the presence of impurities and foreign sub-
not interfere with the assays and tests prescribed for deter-     stances are provided to limit such substances to amounts
mining compliance with compendial standards.                      that are unobjectionable under conditions in which the arti-
5.30. Description and Solubility                                  cle is customarily employed (see also Impurities in Drug Sub-
   Only where a quantitative solubility test is given in a        stances and Drug Products 〈1086〉).
monograph and is designated as such is it a test for purity.         Nonmonograph tests and acceptance criteria suitable for
   A monograph may include information regarding the ar-          detecting and controlling impurities that may result from a
ticle’s description. Information about an article’s “descrip-     change in the processing methods or that may be intro-
tion and solubility” also is provided in the reference table      duced from external sources should be employed in addi-
Description and Relative Solubility of USP and NF Articles. The   tion to the tests provided in the individual monograph,
reference table merely denotes the properties of articles         where the presence of the impurity is inconsistent with ap-
that comply with monograph standards. The reference ta-           plicable good manufacturing practices or good pharmaceu-
ble is intended primarily for those who use, prepare, and         tical practices.
dispense drugs and/or related articles. Although the infor-       5.60.10. Other Impurities in USP and NF Articles
mation provided in monographs and the information in the             If a USP or NF monograph includes an assay or organic
reference table may indirectly assist in the preliminary eval-    impurity test based on chromatography, other than a test
uation of an article, it is not intended to serve as a standard   for residual solvents, and that monograph procedure does
or test for purity.                                               not detect an impurity present in the substance, the
   The approximate solubility of a compendial substance is        amount and identity of the impurity, where both are
indicated by one of the following descriptive terms:              known, shall be stated in the labeling (certificate of analy-
                                                                  sis) of the official substance, under the heading Other
                                  Parts of Solvent Required       Impurity(ies).
         Descriptive Term            for 1 Part of Solute            The presence of any unlabeled other impurity in an offi-
 Very soluble                     Less than 1                     cial substance is a variance from the standard if the content
 Freely soluble                   From 1 to 10                    is 0.1% or greater. The sum of all Other Impurities com-
 Soluble                          From 10 to 30                   bined with the monograph-detected impurities may not ex-
                                                                  ceed 2.0% (see Ordinary Impurities 〈466〉), unless otherwise
 Sparingly soluble                From 30 to 100
                                                                  stated in the monograph.
 Slightly soluble                 From 100 to 1,000                  The following categories of drug substances are excluded
 Very slightly soluble            From 1,000 to 10,000            from Other Impurities requirements:
 Practically insoluble, or        Greater than or equal to           • Fermentation products and semi-synthetics derived
  Insoluble                        10,000                               therefrom,
                                                                     • Radiopharmaceuticals,
5.40. Identity                                                       • Biologics,
   A compendial test titled Identity or Identification is pro-       • Biotechnology-derived products,
vided as an aid in verifying the identity of articles as they        • Peptides,
are purported to be, e.g., those taken from labeled contain-         • Herbals, and
ers, and to establish whether it is the article named in             • Crude products of animal or plant origin.
USP–NF. The Identity or Identification test for a particular         Any substance known to be toxic shall not be listed
article may consist of one or more procedures. When a             under Other Impurities.
compendial test for Identity or Identification is undertaken,     5.60.20. Residual Solvents in USP and NF Articles
all requirements of all specified procedures in the test must        All USP and NF articles are subject to relevant control of
be met to satisfy the requirements of the test. Failure of an     residual solvents, even when no test is specified in the indi-
article to meet all the requirements of a prescribed Identity     vidual monograph. If solvents are used during production,


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they must be of suitable quality. In addition, the toxicity      6.20. Automated Procedures
and residual level of each solvent shall be taken into con-         Automated and manual procedures employing the same
sideration, and the solvents limited according to the princi-    basic chemistry are considered equivalent.
ples defined and the requirements specified in Residual Sol-     6.30. Alternative and Harmonized Methods and
vents 〈467〉, using the general methods presented therein         Procedures
or other suitable methods.                                          Alternative methods and/or procedures may be used if
5.60.30. Elemental Impurities in USP Drug Products and           they provide advantages in terms of accuracy, sensitivity,
Dietary Supplements                                              precision, selectivity, or adaptability to automation or com-
   •Effective January 1, 2018, elemental impurities will be      puterized data reduction, or in other special circumstances.
controlled in official drug products according to the princi-    Such alternative procedures and methods shall be validated
ples defined and requirements specified in Elemental Impuri-     as described in the general chapter Validation of Compendial
ties—Limits 〈232〉. Effective January 1, 2018, elemental con-     Procedures 〈1225〉 and must be shown to give equivalent or
taminants are controlled in official dietary supplements         better results. Only those results obtained by the methods
according to the principles defined and requirements speci-      and procedures given in the compendium are conclusive.
fied in Elemental Contaminants in Dietary Supplements               Alternative procedures should be submitted to USP for
〈2232〉. Also effective January 1, 2018, general chapter          evaluation as a potential replacement or addition to the
Heavy Metals 〈231〉 will be omitted and all references to it      standard (see section 4.10, Monographs).
in general chapters and monographs will be deleted. Early           Certain general chapters contain a statement that the
adoption of the requirements in 〈232〉 and 〈2232〉 are per-        text in question is harmonized with the corresponding text
mitted by USP, and if 〈232〉 or 〈2232〉, as applicable, is fully   of the European Pharmacopoeia and/or the Japanese Phar-
implemented with respect to a particular drug product or         macopoeia and that these texts are interchangeable. There-
dietary supplement in advance of the January 1, 2018 date,       fore, if a substance or preparation is found to comply with
that product and its ingredients will no longer need to          a requirement using an interchangeable method or proce-
comply with applicable 〈231〉 requirements to be consid-          dure from one of these pharmacopeias, it should comply
ered by USP to be in conformance with USP–NF require-            with the requirements of the USP–NF. When a difference
ments.• (RB 1-Apr-2015)                                          appears, or in the event of dispute, only the result obtained
5.70. Performance Tests                                          by the method and/or procedure given in the USP–NF is
   Where content uniformity determinations have been             conclusive.
made using the same analytical methodology specified in          6.40. Dried, Anhydrous, Ignited, or Solvent-Free Basis
the Assay, with appropriate allowances made for differences         All calculations in the compendia assume an “as-is” basis
in sample preparation, the average of all of the individual      unless otherwise specified.
content uniformity determinations may be used as the As-            Test procedures may be performed on the undried or
say value.                                                       unignited substance and the results calculated on the dried,
5.80. USP Reference Standards                                    anhydrous, or ignited basis, provided a test for Loss on Dry-
   USP Reference Standards are authentic specimens that          ing, or Water Determination, or Loss on Ignition, respectively,
have been approved as suitable for use as comparison stan-       is given in the monograph. Where the presence of moisture
dards in USP or NF tests and assays. (See USP Reference          or other volatile material may interfere with the procedure,
Standards 〈11〉.) Where USP or NF tests or assays call for the    previous drying of the substance is specified in the individ-
use of a USP Reference Standard, only those results ob-          ual monograph and is obligatory.
tained using the specified USP Reference Standard are con-          The term “solvent-free” signifies that the calculation shall
clusive. Where a procedure calls for the use of a com-           be corrected for the presence of known solvents as deter-
pendial article rather than for a USP Reference Standard as      mined using the methods described in Residual Solvents
a material standard of reference, a substance meeting all of     〈467〉 unless a test for limit of organic solvents is provided
the compendial monograph requirements for that article           in the monograph.
shall be used. If any new USP or NF standard requires the           The term “previously dried” without qualification signifies
use of a new USP Reference Standard that is not yet availa-      that the substance shall be dried as directed under Loss on
ble, that portion of the standard containing the require-        Drying 〈731〉 or Water Determination 〈921〉 (gravimetric
ment shall not be official until the specified USP reference     determination).
material is available.                                              Where drying in vacuum over a desiccant is directed, a
   Unless a Reference Standard label bears a specific po-        vacuum desiccator, a vacuum drying pistol, or other suita-
tency or content, assume the Reference Standard is 100.0%        ble vacuum drying apparatus shall be used.
pure in the official application. Unless otherwise directed in   6.40.10. Ignite to Constant Weight
the procedure in the individual monograph or in a general           “Ignite to constant weight” means that ignition shall be
chapter, USP Reference Standards are to be used in accor-        continued at 800 ± 25°, unless otherwise indicated, until
dance with the instructions on the label of the Reference        two consecutive weighings, the second of which is taken
Standard.                                                        after an additional period appropriate to the nature and
                                                                 quantity of the residue, do not differ by more than
Change to read:                                                  0.50 mg per g of substance taken.
                                                                 6.40.20. Dried to Constant Weight
6. TESTING PRACTICES AND PROCEDURES                                 “Dried to constant weight” means that drying shall be
6.10. Safe Laboratory Practices                                  continued until two consecutive weighings, the second of
  In performing compendial procedures, safe laboratory           which is taken after an additional drying period appropriate
practices shall be followed, including precautionary meas-       to the nature and quantity of the residue, do not differ by
ures, protective equipment, and work practices consistent        more than 0.50 mg per g of substance taken.
with the chemicals and procedures used. Before undertak-         6.50. Preparation of Solutions
ing any procedure described in the compendia, the analyst        6.50.10. Filtration
should be aware of the hazards associated with the chemi-           Where a procedure gives direction to “filter” without fur-
cals and the techniques and means of protecting against          ther qualification, the liquid shall be passed through suita-
them. These compendia are not designed to describe such          ble filter paper or equivalent device until the filtrate is clear.
hazards or protective measures.


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Due to the possibility of filter effects, the initial volumes of      Chemicals published by the American Chemical Society
a filtrate may be discarded.                                          (ACS) shall be used. Where such ACS reagent specifications
6.50.20. Solutions                                                    are not available or where the required purity differs, com-
   Unless otherwise specified, all solutions shall be prepared        pendial specifications for reagents of acceptable quality are
with Purified Water. Solutions for quantitative measures              provided (see the Reagents, Indicators, and Solutions section
shall be prepared using accurately weighed or accurately              of the USP–NF). Reagents not covered by any of these spec-
measured analytes (see section 8.20, About).                          ifications should be of a grade suitable to the proper per-
   An expression such as “(1 in 10)” means that 1 part by             formance of the method of assay or test involved.
volume of a liquid shall be diluted with, •or 1 part by                  Listing of these reagents, including the indicators and so-
weight of a solid shall be dissolved in,• (ERR 1-Aug-2014) a suffi-   lutions employed as reagents, in no way implies that they
cient quantity of the diluent or solvent to make the volume           have therapeutic utility; furthermore, any reference to USP
of the finished solution 10 parts by volume. An expression            or NF in their labeling shall include also the term “reagent”
such as “(20:5:2)” means that the respective numbers of               or “reagent grade.” USP may supply reagents if they other-
parts, by volume, of the designated liquids shall be mixed,           wise may not be generally commercially available.
unless otherwise indicated.                                           6.80. Equipment
6.50.20.1. Adjustments to Solutions                                      Unless otherwise specified, a specification for a definite
   When a specified concentration is called for in a proce-           size or type of container or apparatus in a procedure is
dure, a solution of other normality or molarity may be                given solely as a recommendation. Other dimensions or
used, provided that allowance is made for the difference in           types may be used if they are suitable for the intended use.
concentration and that the change does not increase the               6.80.10. Apparatus for Measurement
error of measurement.                                                    Where volumetric flasks or other exact measuring, weigh-
   Proportionately larger or smaller quantities than the spec-        ing, or sorting devices are specified, this or other equip-
ified weights and volumes of assay or test substances and             ment of at least equivalent accuracy shall be employed.
Reference Standards may be taken, provided the measure-               6.80.10.1. Pipet/Pipette
ment is made with at least equivalent accuracy.                          Where a pipet/pipette is specified, a suitable buret may
   Unless otherwise indicated, analyte concentrations shall           be substituted. Where a “to contain” pipet/pipette is speci-
be prepared to within ten percent (10%) of the indicated              fied, a suitable volumetric flask may be substituted.
value. In the special case in which a procedure is adapted            6.80.10.2. Light Protection
to the working range of an instrument, solution concentra-               Where low-actinic or light-resistant containers are speci-
tions may differ from the indicated value by more than ten            fied, either containers specially treated to protect contents
percent (10%), with appropriate changes in associated cal-            from light or clear containers that have been rendered
culations. Any changes shall fall within the validated range          opaque by application of a suitable coating or wrapping
of the instrument.                                                    may be used.
   When adjustment of pH is indicated with either an acid
or base and the concentration is not indicated, appropriate           6.80.20. Instrumental Apparatus
concentrations of that acid or base may be used.                         An instrument may be substituted for the specified instru-
                                                                      ment if the substitute uses the same fundamental principles
6.50.20.2. Test Solutions                                             of operation and is of equivalent or greater sensitivity and
   Information on Test Solutions (TS) is provided in the Test         accuracy. These characteristics shall be qualified as appro-
Solutions portion of the Reagents, Indicators, and Solutions          priate. Where a particular brand or source of a material,
section of the USP–NF. Use of an alternative Test Solution or         instrument, or piece of equipment, or the name and ad-
a change in the Test Solution used may require validation.            dress of a manufacturer or distributor, is mentioned (ordi-
6.50.20.3. Indicator Solutions                                        narily in a footnote), this identification is furnished solely
   Where a procedure specifies the use of an indicator TS,            for informational purposes as a matter of convenience,
approximately 0.2 mL, or 3 drops, of the solution shall be            without implication of approval, endorsement, or
added unless otherwise directed.                                      certification.
6.60. Units Necessary to Complete a Test                              6.80.20.1. Chromatographic Tubes and Columns
   Unless otherwise specified, a sufficient number of units to           The term “diameter” refers to internal diameter (ID).
ensure a suitable analytical result shall be taken.                   6.80.20.2. Tubing
6.60.10. Tablets                                                         The term “diameter” refers to outside diameter (OD).
   Where the procedure of a Tablet monograph directs to               6.80.20.3. Steam Bath
weigh and finely powder not fewer than a given number of                 Where use of a steam bath is directed, use actively flow-
Tablets, a counted number of Tablets shall be weighed and             ing steam or another regulated heat source controlled at an
reduced to a powder. The portion of the powdered Tablets              equivalent temperature.
taken shall be representative of the whole Tablets and shall,
in turn, be weighed accurately.                                       6.80.20.4. Water Bath
                                                                         A water bath requires vigorously boiling water unless oth-
6.60.20. Capsules                                                     erwise specified.
   Where the procedure of a Capsule monograph gives di-
rection to remove, as completely as possible, the contents            6.80.30. Temperature Reading Devices
of not fewer than a given number of the Capsules, a                      Temperature reading devices suitable for pharmacopeial
counted number of Capsules shall be carefully opened and              tests conform to specifications that are traceable to an Na-
the contents quantitatively removed, combined, mixed,                 tional Institute of Standards and Technology (NIST) stan-
and weighed accurately. The portion of mixed Capsules                 dard or equivalent. Temperature reading devices may be of
contents taken shall be representative of the contents of             the liquid-in-glass type or an analog or digital temperature
the Capsules and shall, in turn, be weighed accurately.               indicator type, such as a resistance temperature device,
                                                                      thermistor, or thermocouple. Standardization of thermome-
6.70. Reagents                                                        ters is performed on an established testing frequency with
   The proper conduct of the compendial procedures and                a temperature standard traceable to NIST. For example, re-
the reliability of the results depend, in part, upon the qual-        fer to the current issue of American Society of Testing and
ity of the reagents used in the performance of the proce-             Materials (ASTM) standards E1 for liquid-in-glass
dures. Unless otherwise specified, reagents conforming to             thermometers.
the specifications set forth in the current edition of Reagent

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7. TEST RESULTS                                                   8.10. Abbreviations
7.10. Interpretation of Requirements                                 • RS refers to a USP Reference Standard.
   Analytical results observed in the laboratory (or calculated      • CS refers to a Colorimetric Solution.
from experimental measurements) are compared with                    • TS refers to a Test Solution.
stated acceptance criteria to determine whether the article          • VS refers to a Volumetric Solution that is standardized
conforms to compendial requirements.                                    in accordance with directions given in the individual
   The reportable value, which often is a summary value for             monograph or in the Reagents, Indicators, and Solutions
several individual determinations, is compared with the ac-             section of USP–NF.
ceptance criteria. The reportable value is the end result of a    8.20. About
completed measurement procedure, as documented.                      “About” indicates a quantity within 10%.
   Where acceptance criteria are expressed numerically               If the measurement is stated to be “accurately measured”
herein through specification of an upper and/or lower limit,      or “accurately weighed,” follow the statements in the gen-
permitted values include the specified values themselves,         eral chapters Volumetric Apparatus 〈31〉 and Balances 〈41〉,
but no values outside the limit(s). Acceptance criteria are       respectively.
considered significant to the last digit shown.                   8.30. Alcohol Content
7.10.5. Nominal Concentrations in Equations                          Percentages of alcohol, such as those under the heading
   Where a “nominal concentration” is specified, calculate        Alcohol Content, refer to percentage by volume of C2H5OH
the concentration based on the label claim. In assay proce-       at 15.56°. Where a formula, test, or assay calls for alcohol,
dures, water correction is typically stated in the Definition     ethyl alcohol, or ethanol, the USP monograph article Alco-
and on the label of the USP Reference Standard. For other         hol shall be used. Where reference is made to “C2H5OH,”
procedures, correction for assayed content, potency, or           absolute (100 percent) ethanol is intended. Where a proce-
both is made prior to using the concentration in the equa-        dure calls for dehydrated alcohol, alcohol absolute, or an-
tion provided in the monograph.                                   hydrous alcohol, the USP monograph article Dehydrated Al-
7.10.10. Equivalence Statements in Titrimetric                    cohol shall be used.
Procedures                                                        8.40. Atomic Weights
   The directions for titrimetric procedures conclude with a         Atomic weights used in computing molecular weights
statement of the weight of the analyte that is equivalent to      and the factors in the assays and elsewhere are those estab-
each mL of the standardized titrant. In such an equivalence       lished by the IUPAC Commission on Atomic Weights and
statement, the number of significant figures in the concen-       Isotopic Abundances.
tration of the titrant should be understood to correspond         8.50. Blank Determinations
to the number of significant figures in the weight of the            Where it is directed that “any necessary correction” be
analyte. Corrections to calculations based on the blank de-       made by a blank determination, the determination shall be
termination are to be made for all titrimetric assays where       conducted using the same quantities of the same reagents
appropriate (see Titrimetry 〈541〉).                               treated in the same manner as the solution or mixture con-
7.20. Rounding Rules                                              taining the portion of the substance under assay or test,
   The observed or calculated values shall be rounded off to      but with the substance itself omitted.
the number of decimal places that is in agreement with the        8.60. Concomitantly
limit expression. Numbers should not be rounded until the            “Concomitantly” denotes that the determinations or
final calculations for the reportable value have been com-        measurements are to be performed in immediate
pleted. Intermediate calculations (e.g., slope for linearity)     succession.
may be rounded for reporting purposes, but the original           8.70. Desiccator
(not rounded) value should be used for any additional re-            The instruction “in a desiccator” indicates use of a tightly
quired calculations. Acceptance criteria are fixed numbers        closed container of suitable size and design that maintains
and are not rounded.                                              an atmosphere of low moisture content by means of a suit-
   When rounding is required, consider only one digit in          able desiccant such as anhydrous calcium chloride, magne-
the decimal place to the right of the last place in the limit     sium perchlorate, phosphorus pentoxide, or silica gel. See
expression. If this digit is smaller than 5, it is eliminated     also section 8.220, Vacuum Desiccator.
and the preceding digit is unchanged. If this digit is equal
to or greater than 5, it is eliminated and the preceding          8.80. Logarithms
digit is increased by 1.                                             Logarithms are to the base 10.
8. TERMS AND DEFINITIONS

                                            Illustration of Rounding Numerical Values
                                                for Comparison with Requirements
       Compendial Requirement                     Unrounded Value                    Rounded Result              Conforms
 Assay limit ≥98.0%                                     97.96%                           98.0%                      Yes
                                                        97.92%                           97.9%                      No
                                                        97.95%                           98.0%                      Yes
 Assay limit ≤101.5%                                   101.55%                          101.6%                      No
                                                       101.46%                          101.5%                      Yes
                                                       101.45%                          101.5%                      Yes
 Limit test ≤0.02%                                       0.025%                          0.03%                      No
                                                         0.015%                          0.02%                      Yes
                                                         0.027%                          0.03%                      No
 Limit test ≤3 ppm                                       3.5 ppm                         4 ppm                      No
                                                         3.4 ppm                         3 ppm                      Yes
                                                         2.5 ppm                         3 ppm                      Yes



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8.90. Microbial Strain                                            8.230. Water
   A microbial strain cited and identified by its American        8.230.10. Water as an Ingredient in an Official Product
Type Culture Collection (ATCC) catalog number shall be               As an ingredient in an official product, water meets the
used directly or, if subcultured, shall be used not more          requirements of the appropriate water monograph in USP
than five passages removed from the original strain.              or NF.
8.100. Negligible                                                 8.230.20. Water in the Manufacture of Official
   “Negligible” indicates a quantity not exceeding 0.50 mg.       Substances
8.110. NLT/NMT                                                       When used in the manufacture of official substances,
   “NLT” means “not less than.” “NMT” means “not more             water may meet the requirements for drinking water as set
than.”                                                            forth in the regulations of the U.S. Environmental Protec-
8.120. Odor                                                       tion Agency (potable water).
   “Odorless,” “practically odorless,” “a faint characteristic    8.230.30. Water in a Compendial Procedure
odor,” and variations thereof indicate evaluation of a suita-        When water is called for in a compendial procedure, the
ble quantity of freshly opened material after exposure to         USP article Purified Water shall be used unless otherwise
the air for 15 minutes. An odor designation is descriptive        specified. Definitions for High-Purity Water and Carbon Diox-
only and should not be regarded as a standard of purity for       ide-Free Water are provided in Containers—Glass 〈660〉. Defi-
a particular lot of an article.                                   nitions of other types of water are provided in Water for
8.130. Percent                                                    Pharmaceutical Purposes 〈1231〉.
   “Percent” used without qualification means:                    8.240. Weights and Measures
   • For mixtures of solids and semisolids, percent weight in        In general, weights and measures are expressed in the
     weight;                                                      International System of Units (SI) as established and revised
   • For solutions or suspensions of solids in liquids, percent   by the Conférence générale des poids et mesures. For com-
     weight in volume;                                            pendial purposes, the term “weight” is considered to be
   • For solutions of liquids in liquids, percent volume in       synonymous with “mass.”
     volume;                                                         Molality is designated by the symbol m preceded by a
   • For solutions of gases in liquids, percent weight in         number that represents the number of moles of the desig-
     volume.                                                      nated solute contained in 1 kilogram of the designated
   For example, a 1 percent solution is prepared by dissolv-      solvent.
ing 1 g of a solid or semisolid, or 1 mL of a liquid, in suffi-      Molarity is designated by the symbol M preceded by a
cient solvent to make 100 mL of the solution.                     number that represents the number of moles of the desig-
8.140. Percentage Concentrations                                  nated solute contained in an amount of the designated sol-
   Percentage concentrations are expressed as follows:            vent that is sufficient to prepare 1 liter of solution.
   • Percent Weight in Weight (w/w) is defined as the num-           Normality is designated by the symbol N preceded by a
     ber of g of a solute in 100 g of solution.                   number that represents the number of equivalents of the
   • Percent Weight in Volume (w/v) is defined as the num-        designated solute contained in an amount of the desig-
     ber of g of a solute in 100 mL of solution.                  nated solvent that is sufficient to prepare 1 liter of solution.
   • Percent Volume in Volume (v/v) is defined as the num-           Chart of Symbols and Prefixes commonly employed for SI
     ber of mL of a solute in 100 mL of solution.                 metric units and other units:
8.150. Pressure
   Pressure is determined by use of a suitable manometer or                        Units       Symbol              Notes
barometer calibrated in terms of the pressure exerted by a         Length
column of mercury of the stated height.                                         meter            m
8.160. Reaction Time                                                            centimeter       cm
   Reaction time is 5 minutes unless otherwise specified.                       millimeter       mm
8.170. Specific Gravity                                                                                    Previously referred to
   Specific gravity is the weight of a substance in air at 25°                  micrometer        µm        as a micron
divided by the weight of an equal volume of water at the                                                   Previously the symbol
same temperature.                                                                                           mµ (for millimicron)
8.180. Temperatures                                                             nanometer         nm        was used
   Temperatures are expressed in centigrade (Celsius) de-                       Ångström         Å      Equal to 0.1 nm
grees, and all measurements are made at 25° unless other-
                                                                   Mass
wise indicated. Where moderate heat is specified, any tem-
perature not higher than 45° (113° F) is indicated.                             kilogram          kg
8.190. Time                                                                     gram              g
   Unless otherwise specified, rounding rules, as described                     milligram         mg
in section 7.20, Rounding Rules, apply to any time specified.                                              The symbol µg is used
8.200. Transfer                                                                                             in the USP and NF to
   “Transfer” indicates a quantitative manipulation.                                                        represent micro-
                                                                                                            grams, but micro-
8.210. Vacuum
                                                                                                            grams may be
   “Vacuum” denotes exposure to a pressure of less than
                                                                                                            represented as “mcg”
20 mm of mercury (2.67 kPas), unless otherwise indicated.
                                                                                                            for labeling and pre-
8.220. Vacuum Desiccator                                                                                    scribing purposes.
   “Vacuum desiccator” indicates a desiccator that maintains                                                The term “gamma,”
a low-moisture atmosphere at a reduced pressure of not                                                      symbolized by γ, fre-
more than 20 mm of mercury (2.67 kPas) or at the pressure                                                   quently is used to
designated in the individual monograph.                                                                     represent micrograms
                                                                                                            in biochemical litera-
                                                                                microgram         µg        ture.


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                 Units      Symbol              Notes                                 Units      Symbol                   Notes
              nanogram        ng                                                  ampere            A
              picogram        pg                                                  volt              V
                                       Also referred to as the                    millivolt        mV
                                        unified atomic mass                       hertz             Hz           Unit of frequency
                                        unit and is equal to                      kilohertz        kHz
                                        1/12 times the mass
                                                                                  megahertz       MHz
                                        of the free carbon 12
              dalton         Da         atom.                                     electron
                                                                                   volt             eV
              kilodalton     kDa
                                                                                  kilo-elec-
 Time
                                                                                   tron volt        keV
              second          s
                                                                                  mega-elec-
              minute         min                                                   tron volt       MeV
              hour            h                                    Radiation
 Volume                                                                                                          SI unit of activity for
                                       1 L is equal to 1000                       becquerel         Bq            radionuclides
                                        cm3 (cubic centime-                       kilobec-
              liter            L        ters)                                      querel          kBq
              deciliter       dL                                                  megabec-
                                       1 mL is equal to 1                          querel          MBq
                                        cm3, sometimes re-                        gigabec-
              milliliter     mL         ferred to as cc                            querel          GBq
              microliter     µL                                                                                  Non-SI unit of activity
 Tempera-                                                                         curie             Ci            for radionuclides
  ture                                                                            millicurie       mCi
              Celsius         °C                                                  microcurie       µCi
 Amount of                                                                        nanocurie        nCi
  Sub-
                                                                   Other
  stance
                                                                                  accelera-
                                       Historically referred to
                                                                                   tion due                      Used to express rate of
                                        as gram-molecular
                                                                                   to gravity       gn            centrifugation
                                        weight or gram-
              mole           mol        atomic weight                             revolutions
                                                                                   per min-                      Used to express rate of
              millimole     mmol
                                                                                   ute             rpm            centrifugation
              micromole     µmol
              femtomole     fmol
                                       Also referred to as                                Selected SI Prefixes
                                        gram-equivalent
                                        weight. It is used in              Name                 Symbol                     Factor
                                        the calculation of         giga                           G                          109
                                        substance concentra-       mega                           M                          106
                                        tion in units of nor-      kilo                            k                         103
                                        mality. This unit is no    deci                           d                         10−1
                                        longer preferred for
                                                                   centi                           c                        10−2
                                        use in analytical
                                        chemistry or metrolo-      milli                          m                         10−3
              equivalent      Eq        gy.                        micro                          µ                         10−6
              milli-                                               nano                           n                         10−9
               equivalent    mEq                                   pico                           p                         10−12
                                       Osmotic pressure of a       femto                           f                        10−15
                                        solution, related to
                                        substance concentra-      9. PRESCRIBING AND DISPENSING
              osmole         Osmol      tion.                     9.10 Use of Metric Units
              milliosmole   mOsmol                                   Prescriptions for compendial articles shall be written to
 Pressure                                                         state the quantity and/or strength desired in metric units
              pascal          Pa                                  unless otherwise indicated in the individual monograph
              kilopascal     kPa
                                                                  (see also Units of Potency [Biological], section 5.50.10
                                                                  above). If an amount is prescribed by any other system of
              pounds per                                          measurement, only an amount that is the metric equivalent
               square                                             of the prescribed amount shall be dispensed. Apothecary
               inch           psi                                 unit designations on labels and labeling shall not be used.
              millimeter
                                                                  9.20 Changes in Volume
               of mercu-
                                                                     In the dispensing of prescription medications, slight
               ry           mmHg       Equal to 133.322 Pa
                                                                  changes in volume owing to variations in room tempera-
 Electrical                                                       tures may be disregarded.
  Units




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10. PRESERVATION, PACKAGING, STORAGE, AND                         10.40.30. Labeling of Salts of Drugs
LABELING                                                             It is an established principle that official articles shall have
   [NOTE—Storage- and packaging-related provisions previ-         only one official title. For purposes of saving space on la-
ously addressed in the General Notices have been omitted,         bels, and because chemical symbols for the most common
except for the brief provision proposed to be established         inorganic salts of drugs are well known to practitioners as
below in 10.10; see general chapter Packaging and Storage         synonymous with the written forms, the following alterna-
Requirements 〈659〉 for packaging components and storage           tives are permitted in labeling official articles that are salts:
conditions. Labeling-related provisions are also in the pro-      HCl for hydrochloride; HBr for hydrobromide; Na for so-
cess of being moved to a new general chapter Labeling 〈7〉,        dium; and K for potassium. The symbols Na and K are in-
and will be similarly omitted in the future.]                     tended for use in abbreviating names of the salts of organic
10.10. Packaging and Storage                                      acids, but these symbols are not used where the word So-
   All articles in USP or NF are subject to the packaging and     dium or Potassium appears at the beginning of an official
storage requirements specified in general chapter 〈659〉,          title (e.g., Phenobarbital Na is acceptable, but Na Salicylate
unless different requirements are provided in a specific          is not to be written).
monograph.                                                        10.40.40. Labeling Vitamin-Containing Products
10.40. Labeling                                                      The vitamin content of an official drug product shall be
   The term “labeling” designates all labels and other writ-      stated on the label in metric units per dosage unit. The
ten, printed, or graphic matter upon an immediate con-            amounts of vitamins A, D, and E may be stated also in USP
tainer of an article or upon, or in, any package or wrapper       Units. Quantities of vitamin A declared in metric units refer
in which it is enclosed, except any outer shipping con-           to the equivalent amounts of retinol (vitamin A alcohol).
tainer. The term “label” designates that part of the labeling     The label of a nutritional supplement shall bear an identify-
upon the immediate container.                                     ing lot number, control number, or batch number.
   A shipping container containing a single article, unless       10.40.50. Labeling Botanical-Containing Products
such container is also essentially the immediate container or        The label of an herb or other botanical intended for use
the outside of the consumer package, is labeled with a            as a dietary supplement bears the statement, “If you are
minimum of product identification (except for controlled          pregnant or nursing a baby, seek the advice of a health
articles), lot number, expiration date, and conditions for        professional before using this product.”
storage and distribution.                                         10.40.60. Labeling Parenteral and Topical Preparations
   Articles in these compendia are subject to compliance             The label of a preparation intended for parenteral or top-
with such labeling requirements as may be promulgated by          ical use states the names of all added substances (see 5.20,
governmental bodies in addition to the compendial re-             Added Substances and see Injections 〈1〉, Labeling), and, in
quirements set forth for the articles.                            the case of parenteral preparations, also their amounts or
10.40.10. Amount of Ingredient Per Dosage Unit                    proportions, except that for substances added for adjust-
   The strength of a drug product is expressed on the con-        ment of pH or to achieve isotonicity, the label may indicate
tainer label in terms of micrograms or milligrams or grams        only their presence and the reason for their addition.
or percentage of the therapeutically active moiety or drug        10.40.70. Labeling Electrolytes
substance, whichever form is used in the title, unless other-        The concentration and dosage of electrolytes for replace-
wise indicated in an individual monograph. Both the active        ment therapy (e.g., sodium chloride or potassium chloride)
moiety and drug substance names and their equivalent              shall be stated on the label in milliequivalents (mEq). The
amounts are then provided in the labeling.                        label of the product shall indicate also the quantity of in-
   Official articles in capsule, tablet, or other unit dosage     gredient(s) in terms of weight or percentage concentration.
form shall be labeled to express the quantity of each active      10.40.80. Labeling Alcohol
ingredient or recognized nutrient contained in each such             The content of alcohol in a liquid preparation shall be
unit; except that, in the case of unit-dose oral solutions or     stated on the label as a percentage (v/v) of C2H5OH.
suspensions, whether supplied as liquid preparations or as
liquid preparations that are constituted from solids upon         10.40.90. Special Capsules and Tablets
addition of a designated volume of a specific diluent, the           The label of any form of Capsule or Tablet intended for
label shall express the quantity of each active ingredient or     administration other than by swallowing intact bears a
recognized nutrient delivered under the conditions pre-           prominent indication of the manner in which it shall be
scribed in Deliverable Volume 〈698〉. Official drug products       used.
not in unit dosage form shall be labeled to express the           10.40.100. Expiration Date and Beyond-Use Date
quantity of each active ingredient in each milliliter or in          The label of an official drug product or nutritional or die-
each gram, or to express the percentage of each such in-          tary supplement product shall bear an expiration date. All
gredient (see 8.140, Percentage Concentrations), except that      articles shall display the expiration date so that it can be
oral liquids or solids intended to be constituted to yield oral   read by an ordinary individual under customary conditions
liquids may, alternatively, be labeled in terms of each 5-mL      of purchase and use. The expiration date shall be promi-
portion of the liquid or resulting liquid. Unless otherwise       nently displayed in high contrast to the background or
indicated in a monograph or chapter, such declarations of         sharply embossed, and easily understood (e.g., “EXP 6/08,”
strength or quantity shall be stated only in metric units.        “Exp. June 08,” or “Expires 6/08”). [NOTE—For additional
See also 5.50.10, Units of Potency (Biological).                  information and guidance, refer to the Consumer Health-
10.40.20. Use of Leading and Terminal Zeros                       care Products Association’s Voluntary Codes and Guidelines
   To help minimize the possibility of errors in the dispens-     of the Self-Medication Industry.]
ing and administration of drugs, the quantity of active in-          The monographs for some preparations state how the
gredient when expressed in whole numbers shall be shown           expiration date that shall appear on the label shall be de-
without a decimal point that is followed by a terminal zero       termined. In the absence of a specific requirement in the
(e.g., express as 4 mg [not 4.0 mg]). The quantity of active      individual monograph for a drug product or nutritional
ingredient when expressed as a decimal number smaller             supplement, the label shall bear an expiration date as-
than 1 shall be shown with a zero preceding the decimal           signed for the particular formulation and package of the
point (e.g., express as 0.2 mg [not .2 mg]).                      article, with the following exception: the label need not
                                                                  show an expiration date in the case of a drug product or
                                                                  nutritional supplement packaged in a container that is in-

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tended for sale without prescription and the labeling of            absence of stability data to the contrary, such beyond-use
which states no dosage limitations, and which is stable for         date shall be not later than (a) the expiration date on the
not less than 3 years when stored under the prescribed              manufacturer’s container, or (b) 1 year from the date the
conditions.                                                         drug is dispensed, whichever is earlier. For nonsterile solid
   Where an official article is required to bear an expiration      and liquid dosage forms that are packaged in single-unit
date, such article shall be dispensed solely in, or from, a         and unit-dose containers, the beyond-use date shall be 1
container labeled with an expiration date, and the date on          year from the date the drug is packaged into the single-
which the article is dispensed shall be within the labeled          unit or unit-dose container or the expiration date on the
expiry period. The expiration date identifies the time during       manufacturer’s container, whichever is earlier, unless stabil-
which the article may be expected to meet the require-              ity data or the manufacturer’s labeling indicates otherwise.
ments of the compendial monograph, provided it is kept                 The dispenser shall maintain the facility where the dos-
under the prescribed storage conditions. The expiration             age forms are packaged and stored, at a temperature such
date limits the time during which the article may be dis-           that the mean kinetic temperature is not greater than 25°.
pensed or used. Where an expiration date is stated only in          The plastic material used in packaging the dosage forms
terms of the month and the year, it is a representation that        shall afford better protection than polyvinyl chloride, which
the intended expiration date is the last day of the stated          does not provide adequate protection against moisture per-
month. The beyond-use date is the date after which an               meation. Records shall be kept of the temperature of the
article shall not be used. The dispenser shall place on the         facility where the dosage forms are stored, and of the
label of the prescription container a suitable beyond-use           plastic materials used in packaging.
date to limit the patient’s use of the article based on any         10.40.100.1. Compounded Preparations
information supplied by the manufacturer and the General               The label on the container or package of an official com-
Notices. The beyond-use date placed on the label shall not          pounded preparation shall bear a beyond-use date. The be-
be later than the expiration date on the manufacturer’s             yond-use date is the date after which a compounded prep-
container.                                                          aration is not to be used. Because compounded
   For articles requiring constitution before use, a suitable       preparations are intended for administration immediately or
beyond-use date for the constituted product shall be identi-        following short-term storage, their beyond-use dates may
fied in the labeling.                                               be assigned based on criteria different from those applied
   For all other dosage forms, in determining an appropriate        to assigning expiration dates to manufactured drug
period of time during which a prescription drug may be              products.
retained by a patient after its dispensing, the dispenser shall        The monograph for an official compounded preparation
take into account, in addition to any other relevant factors,       typically includes a beyond-use requirement that states the
the nature of the drug; the container in which it was pack-         time period following the date of compounding during
aged by the manufacturer and the expiration date thereon;           which the preparation, properly stored, may be used. In
the characteristics of the patient’s container, if the article is   the absence of stability information that is applicable to a
repackaged for dispensing; the expected storage conditions          specific drug and preparation, recommendations for maxi-
to which the article may be exposed; any unusual storage            mum beyond-use dates have been devised for nonsterile
conditions to which the article may be exposed; and the             compounded drug preparations that are packaged in tight,
expected length of time of the course of therapy. The dis-          light-resistant containers and stored at controlled room
penser shall, on taking into account the foregoing, place           temperature unless otherwise indicated (see the general
on the label of a multiple-unit container a suitable beyond-        test chapter Pharmaceutical Compounding—Nonsterile Prepa-
use date to limit the patient’s use of the article. Unless          rations 〈795〉, Stability Criteria and Beyond-Use Dating).
otherwise specified in the individual monograph, or in the




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